      Case 0:20-cv-62026-RAR Document 3 Entered on FLSD Docket 10/06/2020 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                      JUSTIN OUIMET,                                )
                                                                    )
                                                                    )
                                                                    )
                                                                                                     0:20-cv-62026-RAR
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No.
                                                                    )
   EQUIFAX INFORMATION SERVICES, LLC and                            )
    ACCOUNT RESOLUTION SERVICES, LLC,                               )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) ACCOUNT RESOLUTION SERVICES, LLC
                                           1643 NW 136th Ave
                                           Sunrise, FL 33323




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Cohen & Mizrahi, LLP
                                           300 Cadman Plaza West, 12th Floor,
                                           Brooklyn, NY 11201



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:        Oct 6, 2020                                                                            s/ S.Carlson

                                                                                         Signature of Clerk or Deputy Clerk
      Case 0:20-cv-62026-RAR Document 3 Entered on FLSD Docket 10/06/2020 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                       JUSTIN OUIMET                                )
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                                                                    )
                                                                    )                           0:20-cv-62026-RAR
                            Plaintiff(s)
                                                                    )
                                v.                                           Civil Action No.
                                                                    )
   EQUIFAX INFORMATION SERVICES, LLC and                            )
    ACCOUNT RESOLUTION SERVICES, LLC,,                              )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) EQUIFAX INFORMATION SERVICES, LLC,
                                           c/o Corporation Service Company
                                           1201 Hays Street
                                           Tallahassee, FL 32301




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
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                                                                                CLERK OF COURT


Date:       Oct 6, 2020                                                                               s/ S.Carlson

                                                                                          Signature of Clerk or Deputy Clerk
